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Attorneys for Defendant,

Tod Williams Billie Tsien Architects, LLP

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

THE TRUSTEES OF PRINCETON

UNIVERSITY,
Plaintiff, Civil Action No.
3:19-cv-21248-BRM-LHG
Vv.

TOD WILLIAMS BILLIE TSIEN
TOD WILLIAMS BILLIE TSIEN ARCHITECTS, LLP’S ANSWER TO
ARCHITECTS, LLP; JACOBS CROSS-COMPLAINT OF JACOBS
ARCHITECTS/ENGINEERS, INC.; ARCHITECTS/ENGINEERS , INC.

and JACOBS CONSULTANCY, INC., AND JACOBS CONSULTANCY, INC.
Defendants. WITH THIRD-PARTY COMPLAINT

 

JACOBS ARCHITECTS/ENGINEERS,
INC. and JACOBS CONSULTANCY
INC.,

Cross-Complainant,

Vv.

TOD WILLIAMS BILLIE TSIEN
ARCHITECTS, LLP,

Cross-Complaint Defendant.

 

TOD WILLIAMS BILLIE TSIEN
ARCHITECTS, LLP,

Third-Party Plaintiff
on the Cross-Complaint,

 

Vv.
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THE TRUSTEES OF PRINCETON
UNIVERSITY and ARUP USA, INC.,

Third-Party Defendants
on the Cross-Complaint.

 

 

Defendant, Tod Williams Billie Tsien Architects, LLP,
(“TWBTA” or “answering defendant”), in reply to the cross-
complaint filed against it by defendants Jacobs
Architects/Engineers, Inc. and Jacobs Consultancy, Inc., says as
follows:

CROSS-COMPLAINT OF JACOBS ARCHITECTS/ENGINEERS INC.
AND_JACOBS CONSULTANCY, INC.

1. The allegations of this paragraph constitute legal
conclusions to which no response is required. To the extent any
further response is required, denied as to answering defendant.

2. Answering defendant is without sufficient information
or knowledge to admit or deny the allegations contained in this
paragraph.

3. Answering defendant is without sufficient information
or knowledge to admit or deny the allegations contained in this
paragraph.

4. Admitted.

5. Admitted.

6. Admitted.

7. Admitted.
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8. Answering defendant is without sufficient information
or knowledge to admit or deny the allegations contained in this
paragraph.

9. The Design Contract is a written document that speaks
for itself and is the best evidence of its own terms. Answering
defendant denies any inconsistent Characterization thereof. To
the extent any further response is required, answering defendant
denies the allegations of this paragraph.

10. Admitted that Jacobs Architect/Engineers, Inc. was a
sub-consultant of answering defendant for the Project, but its
Subconsultant Agreement is a written document that speaks for
itself and is the best evidence of its own terms. Answering
defendant denies any inconsistent Characterization thereof. To
the extent any further response is required, answering defendant
denies the allegations of this paragraph.

11. Admitted that Jacobs Consultancy, Inc. was a sub-
consultant of answering defendant for the Project, but its
Subconsultant Agreement is a written document that speaks for
itself and is the best evidence of its own terms. Answering
defendant denies any inconsistent characterization thereof. To
the extent any further response is required, answering defendant
denies the allegations of this paragraph.

12. The Subconsultant Agreements are written documents

that speak for themselves and are the best evidence of their own

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terms. Answering defendant denies any inconsistent
characterizations thereof. To the extent any further response is
required, answering defendant denies the allegations of this
paragraph.

13. The Subconsultant Agreements are written documents
that speak for themselves and are the best evidence of their own
terms. Answering defendant denies any inconsistent
characterizations thereof. To the extent any further response is
required, answering defendant denies the allegations of this
paragraph.

14. Denied that any failure to pay proper invoices of
Jacobs Architects/Engineers, Inc. and Jacobs Consultancy, Inc.
any Contract Milestones, if proven, was the fault of answering
defendant.

COUNT ONE
(Breach of Contract Against Princeton and TWBTA)

15. Answering defendant repeats its answers to the prior
paragraphs as if set forth at length herein.

16. The Subconsultant Agreements are written documents
that speak for themselves and are the best evidence of their own
terms. Answering defendant denies any inconsistent
characterizations thereof. To the extent any further response is
required, answering defendant denies the allegations of this

paragraph.
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17. Answering defendant neither admits nor denies the
allegations in this paragraph and leaves Jacobs A/E to its
proofs. To the extent any further response is required,
answering defendant denies the allegations of this paragraph.

18. Answering defendant neither admits nor denies the
allegations in this paragraph and leaves Jacobs Consultancy to
its proofs. To the extent any further response is required,
answering defendant denies the allegations of this paragraph.

19. Admitted that demands have been made, including by
the filing of this cross-claim or cross-complaint. To the extent
any further response is required, answering defendant denies the
allegations of this Paragraph and asserts that plaintiff or
others are responsible for any payments claimed and owing by the
Jacobs Entities under this paragraph.

20. Denied as to answering defendant.

WHEREFORE, defendant Tod Williams Billie Tsien Architects,
LLP demands dismissal of the cross-complaint with prejudice,
together with attorneys’ fees, costs of defense and other relief
the Court deems just and equitable.

COUNT TWO
(Quantum Meruit Against TWBTA)
21. Answering defendant repeats its answers to the prior

paragraphs as if set forth at length herein.
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22. The allegations of this paragraph constitute legal
conclusions to which no response is required. To the extent any
further response is required, denied as to answering defendant.

23. Answering defendant neither admits nor denies the
allegations in this Paragraph and leaves the Jacobs Entities to
their proofs. To the extent any further response is required,
answering defendant denies the allegations of this paragraph.

24. Answering defendant neither admits nor denies the
allegations in this paragraph and leaves the Jacobs Entities to
their proofs. To the extent any further response is required,
answering defendant denies the allegations of this Paragraph and
asserts that plaintiff or others are responsible for any
payments claimed and owing under this paragraph.

WHEREFORE, defendant Tod Williams Billie Tsien Architects,
LLP demands dismissal of the cross~complaint with prejudice,
together with attorneys’ fees, costs of defense and other relief
the Court deems just and equitable.

SEPARATE DEFENSES TO THE CROSS-COMPLAINT AND COUNTERCLAIM
FIRST SEPARATE DEFENSE

Answering defendant was not negligent.
SECOND SEPARATE DEFENSE

Answering defendant performed each and every duty,
contractual or otherwise, which was owed to the Jacobs Entities

and plaintiff, if any, or to any other persons.
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THIRD SEPARATE DEFENSE
The incidents and damages complained of by the Jacobs
Entities were caused solely by the acts or omissions of some
other person or party over whom answering defendant has no
control or right of control.
FOURTH SEPARATE DEFENSE
The damages alleged are not the result of the incident
which is the subject of the Cross-complaint.
FIFTH SEPARATE DEFENSE
The Jacobs Entities’ negligence and/or fault contributed to
the alleged damages and, therefore, they are barred from
recovery or subject to having the same diminished in accordance
with the New Jersey Comparative Negligence Act and the New
Jersey Joint Tortfeasors Contribution Act.
SIXTH SEPARATE DEFENSE
The incident was caused by defects which did not result
from any act or omission on the part of answering defendant.
SEVENTH SEPARATE DEFENSE
The Jacobs Entities assumed the risk of injury or harm or
loss.
EIGHTH SEPARATE DEFENSE
The Jacobs Entities’ claims are barred from recovery to the
extent each consultant materially breached duties and

obligations under their respective contract.
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NINTH SEPARATE DEFENSE
The Jacobs Entities’ claims are subject to set-off,
recoupment, or back charges.
TENTH SEPARATE DEFENSE
To the extent it has not done so in the preceding paragraphs,
answering defendant denies any averments in the cross-complaint
which the Court deems requires such response.
ELEVENTH SEPARATE DEFENSE
The Jacobs Entities’ claims are barred by the applicable
statute of limitations/repose.
TWELFTH SEPARATE DEFENSE
For the purpose of preserving a defense, the Jacobs
Entities’ claims are barred in whole or in part because it
failed to satisfy all necessary conditions precedent
THIRTEENTH SEPARATE DEFENSE
The Jacobs Entities’ claims are barred by the doctrine of
payment, accord and satisfaction.
FOURTEENTH SEPARATE DEFENSE
The Jacobs Entities’ claims are barred because there are no
monies due and owing.
FIFTEENTH SEPARATE DEFENSE
The Jacobs Entities’ claims are barred by the doctrines of

estoppel and waiver.
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SIXTEENTH SEPARATE DEFENSE
The Jacobs Entities’ claims are barred from recovery by the
limitation of liability clause in the contract.
SEVENTEENTH SEPARATE DEFENSE
The Jacobs Entities have failed to mitigate damages.
EIGHTEENTH SEPARATE DEFENSE
The Jacobs Entities’ claims are barred by the doctrines of
laches.
NINETEENTH SEPARATE DEFENSE
The Jacobs Entities’ claims are barred by the doctrines of
unclean hands.
TWENTIETH SEPARATE DEFENSE
Answering defendant reserves the right to assert any other
defenses as may be developed through discovery or trial.
TWENTY-FIRST SEPARATE DEFENSE
The Jacobs Entities’ cross-complaint fails to state a claim
upon which relief can be granted, including pursuant to N.J.S.A.
2A:53A-27, et seq.
TWENTY-SECOND SEPARATE DEFENSE
The Jacobs Entities’ have failed to join a party needed for

a just adjudication or without which the action cannot proceed.
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TWENTY-THIRD SEPARATE DEFENSE

The alleged incident was caused by the intervening wanton
and/or willful actions of a third party, which this defendant
could not have foreseen and for which they are not responsible.
CROSS-COMPLAINT DEFENDANT, TOD WILLIAMS BILLIE TSIEN ARCHITECTS,
LLP’S_ THIRD-PARTY COMPLAINT FOR CONTRIBUTION AND INDEMNIFICATION

AGAINST THE TRUSTEES OF PRINCETON UNIVERSITY AND ARUP USA, INC.

1. Answering defendant on the cross-complaint repeats its
answers to the prior paragraphs of the cross-complaint of
defendants Jacobs Architects/Engineers, Inc. and Jacobs
Consultancy, Inc. as if set forth at length herein.

2. Defendant Tod Williams Billie Tsien Architects, LLP
denies liability to defendants Jacobs Architects/Engineers, Inc.
and Jacobs Consultancy, Inc. for their cross-complaint.

However, if this defendant is judged liable then answering
defendant demands contribution from plaintiff/third-party
defendant on the cross-complaint, The Trustees of Princeton
University, and defendants/third-party defendant on the cross-
complaint, Arup USA, Inc., pursuant to the applicable Joint
Tortfeasors Contribution Act, N.J.S.A. 2A:53A-1 through 5.

3. Defendant Tod Williams Billie Tsien Architects, LLP
denies liability to defendants Jacobs Architects/Engineers, Inc.
and Jacobs Consultancy, Inc. for their cross-complaint.

However, if this defendant is judged liable then answering

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defendant demands common law and contractual indemnification
from plaintiff/third-party defendant on the cross-complaint, The
Trustees of Princeton University, and defendants/ third-party
defendant on the cross-complaint, Arup USA, Inc.

WHEREFORE, Defendant/third-party plaintiff on the cross-
complaint, Tod Williams Billie Tsien Architects, LLP, herein
demands judgment for contribution and/or common law and
contractual indemnification from third-party defendants, The
Trustees of Princeton University and Arup, USA, Inc.

DEMAND FOR JURY TRIAL

Answering defendant hereby demands trial by jury as to all

issues herein.

DESIGNATION OF TRIAL COUNSEL

PLEASE TAKE NOTICE that John M. Becker is designated as

trial counsel.

LOCAL CIVIL RULE 11:2 CERTIFICATION
I hereby certify that, to my knowledge, the matter in
controversy is not the subject of any other action or proceeding
pending in any court or in any pending arbitration or
administrative proceeding.
CERTIFICATE OF SERVICE
I, John M. Becker, Esquire, certify that on , 2020, a

true and correct copy of the answer to the cross-complaint was

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served on all counsel of record via the Court’s ECF Filing

System.

Dated:

July

,

2020

THOMPSON BECKER, L.L.C.
Attorneys for Defendant
Tod Williams Billie Tsien
Architects, LLP

// Toba M, Becker
By:

 

John M. Becker, Esq.

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